
952 So.2d 617 (2007)
Keith PRIDE, Appellant,
v.
STATE of Florida, Appellee.
No. 1D06-2813.
District Court of Appeal of Florida, First District.
March 30, 2007.
Nancy A. Daniels, Public Defender, and Archie F. Gardner, Jr., Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, and Alan R. Dakan, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Peters v. State, 919 So.2d 624 (Fla. 1st DCA) (affirming revocation of community control, finding "testimonial hearsay" rule set forth in Crawford v. Washington, 541 U.S. 36, 124 S.Ct. 1354, 158 L.Ed.2d 177 (2004), inapplicable to revocation proceedings, and certifying question of great public importance to Florida Supreme Court), review granted, 924 So.2d 809 (Fla. 2006).
KAHN, POLSTON and THOMAS, JJ., concur.
